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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF ILLINOIS


                                                               MDL No. 2545
 IN RE: TESTOSTERONE REPLACEMENT THERAPY                       Master Docket Case No. 1:14-cv-01748
 PRODUCTS LIABILITY LITIGATION                                 Honorable Matthew F. Kennelly
 This document applies to:
 Brad Martin,, et al. v. Actavis, Inc.,, et al.,
 Case No. 15-cv-4292
 Casey Brubaker,, et al. v. Actavis, Inc.,, et al.,
 Case No. 15-cv-426


     PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO MOTION OF THE
           ACTAVIS DEFENDANTS TO EXCLUDE EXPERT TESTIMONY




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June 8, 2018
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                                          INTRODUCTION
        Defendants Actavis, Inc., Actavis Pharma, Inc., and Actavis Laboratories UT, Inc. (“Actavis”)

move to exclude the expert testimony of B. Burt Gerstman, Ph.D., Martin T. Wells, Ph.D., and

Hossein Ardehali, M.D. that testosterone therapy can cause cardiovascular events, including

myocardial infarction (and, in the case of Dr. Wells, the statistical basis for that conclusion) – opinions

that are substantially similar to those this Court has previously held to be admissible from these same

witnesses. Actavis also moves to Dr. Ardehali’s case-specific opinions that Actavis’s product,

Androderm, caused the myocardial infarctions suffered by Plaintiffs Martin and Brubaker. Actavis

lastly moves to exclude the expert testimony of Robert Johnson regarding the financial condition of

Actavis plc, the parent company of the Actavis entities that are parties here. Actavis’ motion should

be denied in its entirety because Plaintiffs’ experts’ testimony is admissible under Rule 702. As

discussed below, each expert is fully qualified to offer opinions in his field; the methodologies

employed in each report have already been found to be reliable; and each opinion is relevant to, and

properly fits the facts of, the cases in which it is being offered. As described below, Plaintiffs’ experts

will help the jury understand how and to what extent Androderm increases the risk of myocardial

infarction in the men for whom Actavis intended it to be prescribed and what the various studies of

testosterone therapy that have been performed have shown. Plaintiffs’ experts provide evidence of

general causation – that Androderm was capable of causing Plaintiffs’ heart attacks – and specific

causation – that Androderm was a substantial contributing factor in causing Plaintiffs’ heart attacks.

All of this testimony is admissible and should not be excluded.

        First, Actavis’ attacks on the experts’ use of statistical evidence should be rejected. Actavis

takes issue with Plaintiffs’ experts’ reliance upon several studies that identify composite endpoints.

However, as Dr. Wells explained, composite endpoints are a recognized tool and are particularly

helpful where the component data sets are small. Even Actavis’ expert agrees that composite

endpoints are appropriate and reliable in the context of small data sets. Plaintiffs’ experts correctly

utilized composite endpoints, specifically those with cardiovascular events where component

endpoints were especially small. To the extent that Actavis disagrees with the experts’ use of

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composite endpoints, that is a matter for cross-examination, not a basis for exclusion. Actavis also

disputes Plaintiffs’ experts’ utilization of Bayesian meta-analyses because the subject data sets were

too small. But, as Dr. Wells testified, small data sets are not as important as plotting and observing the

distribution in determining the propriety of the particular type of meta-analysis being implemented.

Here, Dr. Wells testified that the meta-analyses distributions confirmed they were properly and reliably

implemented.

        Second, Actavis argues that Plaintiffs’ experts’ opinions regarding the mechanisms by which

testosterone therapy causes injury are unreliable. For each mechanism, Actavis’ argument relies
entirely on concerns with one or two studies while ignoring the numerous other studies and

publications that Plaintiffs’ experts have relied upon in forming their opinions on each mechanism.

Plaintiffs’ experts appropriately and reasonably rely on the totality of the evidence in supporting their

opinions that increases in estradiol, hematocrit, platelet activity, and plaque volume can increase the

risk of cardiovascular injuries. Plaintiffs’ experts also reasonably rely upon animal and in vitro studies

to supplement those opinions.

        Third, Actavis puts forth arguments about the Vigen and Finkle studies nearly identical to

those offered by AbbVie with respect to those studies. This Court has already rejected those

arguments and found the Vigen and Finkle studies to be reliable sources for Plaintiffs’ experts’

consideration. and soundly rejected by the Court during previous bellwether briefing. The Court

should do so once again.

        Finally, Actavis alleges that Plaintiffs Martin and Brubaker, who were in 52 and 41 years of

age, respectively, when they suffered heart attacks, were simply too young for any of Plaintiffs’ experts’

opinions to apply to them. However, Plaintiffs’ experts appropriately relied on a study that observed

that cardiovascular risk may triple in men under 65. Moreover, the various mechanisms of injury and

the numerous publications and studies considered by Dr. Gerstman and Dr. Ardehali help shed light

on different population pools, such as men in their 30s and 40s.

        As to case-specific arguments, Dr. Ardehali’s methodology of ruling in Androderm as a

substantial contributing factor in Plaintiffs’ injuries is entirely consistent with the well-supported
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opinions delineated in his general causation report, particularly those relating to the various

mechanisms through which testosterone can cause cardiovascular events. It is through a combination

of his reliance on his general causation report and the presentation of Plaintiffs’ specific injuries that

Dr. Ardehali is able to ascertain the exact mechanisms at issue in these cases. Doing so allows him to

reliably rule in Androderm as a substantial contributing factor with far greater precision and specificity

than even that demanded by Daubert. More importantly, this is the exact methodology the Court has

already admitted. Dr. Ardehali also considered the individual risk factors for each Plaintiff. He

reviewed EKG results, cardiac catheterization reports, and scoured relevant testimony in order to
reach his own conclusions on what conditions Plaintiffs had at the time of their injuries and the relative

cardiovascular risk of each of those conditions in light of their testosterone use. Using all of this

information, Dr. Ardehali formed the opinion that Androderm was a substantial contributing factor

in causing both Plaintiffs’ injuries. Actavis’ arguments really are not attacks on Dr. Ardehali’s

methodology. Instead, they represent mere disagreements with the conclusions that he drew from the

pertinent medical evidence – disagreements that can only be resolved by a jury.

          Lastly, Robert Johnson’s opinion regarding Actavis plc’s financial condition will assist the trier

of fact and is not overly prejudicial. Moreover, because Actavis plc failed to appear for the properly

noticed deposition pursuant to Rule 30(b)(6), Plaintiffs are filing a contemporaneous motion for

sanctions against the Actavis Defendants for failing to attend the 30(b)(6) deposition and for failing

to produce requested documents. In that motion, Plaintiffs request that, as a discovery sanction, the

Court deny Actavis’ motion to exclude the expert testimony of Robert Johnson. Plaintiffs incorporate

those arguments here as an additional basis on which Actavis’ motion to exclude the testimony of Mr.

Johnson should be denied.
                                        PLAINTIFFS’ EXPERTS
          At issue here are the opinions of four of Plaintiffs’ experts regarding general causation, specific

causation, statistics1, and economics as follows:

1
    Although Actavis refers to Dr. Martin Wells as a “causation” expert, Dr. Wells is a biostatistician


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B. Burt Gerstman, Ph.D.

       Dr. Burt Gerstman is an epidemiologist with a Masters of Public Health from the University

of California, Berkeley, and a Ph.D. in Epidemiology & Comparative Pathology from the University

of California, Davis. He is currently a Professor of Health Science at San Jose State University, in San

Jose, California where he teaches epidemiology and biostatistics. His research areas include the history

of epidemiology and public health, drug safety, and linked medical record systems. Prior to assuming

his position at San Jose State, Dr. Gerstman was an Epidemiology Fellow and then a staff

epidemiologist at the Center for Drug Evaluation and Research in the Office of Surveillance and

Epidemiology at the U.S. Food and Drug Administration (“FDA”), where his responsibilities included

post-marketing surveillance of drug safety, data base development, and training of NIH Epidemiology

Fellows and CDC Epidemic Intelligence Officers.

       Dr. Gerstman is widely published in the areas of epidemiology and biostatistics. He has

published basic textbooks in each of those fields. He has also published numerous articles in peer-

reviewed journals, including (among others) articles about the use of mathematical models for health

professionals, methods for pharmacoepidemiologic analysis, assessment of drug-associated risk, use

of pharmacoepdemiologic databases, as well as oral contraceptives and their link to deep vein

thromboembolism. This Court has already found Dr. Gerstman qualified to offer opinions in this

MDL in connection with cases involving the AbbVie Defendants. See CMO 46. Dr. Gerstman was

previously found qualified to offer opinions about the relative safety of different formulations of

estradiol-containing oral contraceptives with respect to the increased risk of venous

thromboembolism. See In re Yasmin & YAZ (Drospirenone) Mktg., Sales Practices & Prod. Liab. Litig., No.

3:09-MD-02100-DRH, 2011 WL 6302573, at *10 (S.D. Ill. Dec. 16, 2011).

       As set forth in his expert report, Dr. Gerstman offers the opinion that



who does not offer any opinions about causation. Rather, he offers statistical opinions regarding
certain studies, and those opinions are relied on, or supportive of the opinions offered by, Plaintiffs’
experts who do offer causation opinions.

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           There is substantial and credible evidence to indicate that testosterone
           supplementation increases the risk of heart attack and stroke in older men. Based on
           the synthesis of data and lines of reasoning in this report, this increase is on the order
           of 30 to 50% in relative terms, which is roughly equivalent to a risk difference of 4 per
           1000, depending on the baseline rate in the population of users.2
See Ex. 1 at 11; 138. As detailed in the report, this conclusion is based on a thorough analysis of 18

published observational studies, published studies reporting on several randomized controlled trials

(“RCTs”), including the Testosterone in Older Men (“TOM”) trial and the T-Trials, and nine

published meta-analyses of RCTs of testosterone, covering more than 45 separate published studies.

See generally Ex. 1. Dr. Gerstman assessed each of the studies he reviewed, evaluating the strengths and

weakness of the study design and the reliability of the conclusions drawn by the authors of each of

the studies. Id. He assessed the various study endpoints and the variations in definitions across the

different studies. Id. He carefully considered the weight assigned to the numerous underlying studies

by the most significant of the meta-analyses. Id. Dr. Gerstman specifically considered whether the

association between testosterone therapy and heart attacks and strokes reflected in these studies was

causal and, using the standard method for epidemiologists considering causation, concluded that it

was. Id.

           In connection with the AbbVie bellwether cases, this Court denied a motion to exclude Dr.

Gerstman’s general causation opinions. See CMO 46. Dr. Gerstman offered a general causation

opinion for the Auxilium bellwether cases and the Auxilium Defendants did not seek to exclude it.
Martin Wells, Ph.D

           Dr. Martin T. Wells is a chaired Professor of Statistical Sciences at Cornell University, where

he is also a Professor of Biological Statistics and Computational Biology. See Ex. 2, Wells Report at 1.

He serves on the faculty of Weill Medical School at Cornell University, where he is a Professor of

Biostatistics in Public Health as well as Clinical Epidemiology and Health Services Research. Id. He

holds an appointment at Cornell Law School. Id. He has a Ph.D in mathematics from the University


2
   Dr. Gerstman’s report also discloses opinions concerning the efficacy of testosterone
supplementation in men who do not have classical hypogonadism. Those opinions are not at issue on
this motion.
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of California. Id. at 20. He teaches statistical methodology to undergraduate and graduate students,

has served on national statistical committees and has published articles in leading statistical and

scientific journals. Id. at 1, 20-32. He is on the editorial boards of Journal of Multivariate Analysis and

Journal of Empirical Legal Studies, and serves as Associate Editor for Annals of Statistics. Id. He

previously served as an Editor of The Journal of the American Statistical Association, Statistical

Science, and Editor-in-Chief of the ASA-SIAM Series on Statistics and Applied Probability. Id. He is

a Fellow of the American Statistical Association, the Royal Statistical Society, Institute of Mathematical

Statistics and an elected member of the International Statistics Institute. Id.
        In his report, Dr. Wells does not offer an opinion about the causal relationship between

cardiovascular endpoints and testosterone therapy. Rather, he offers an opinion about the statistical

power of various studies to detect increased risk of major adverse cardiovascular events (“MACE”).

Specifically, Dr. Wells opines:
        Most of the extant studies examining between exogenous testosterone therapy and
        MACE have quite limited power to detect a 50% increased risk. These studies are
        essentially unable to rule out an increased risk of a MACE due to testosterone therapy
        and thus fail to prove, or provide assurance about the safety. If one correctly performs
        a Bayesian inferential meta-analysis methodology using the event count data, there is
        roughly an 85% probability that testosterone supplementation increases the odds of a
        MI and stroke. This posterior probability reveals that although a frequentist 95%
        confidence interval of 0.78 - 2.72 includes the value one, there a high posterior
        probability of a MACE event with testosterone supplementation.
Ex. 2, Wells Report at 2.

        Dr. Wells’ report details the basis of this opinion, in particular, explaining the difference

between Type I errors (false positives) and Type II errors (false negatives). Id. at 2-4. He explains the

role of so-called “confidence intervals” and statistical power in helping to control both Type I and

Type II errors. Id. Applying these concepts, Dr. Wells examined two meta-analyses of testosterone

therapy and MACE that failed to find a statistically-significant association. Id. at 5-11. He assessed the

risk of Type I errors and Type II errors given the size of various studies considered in the meta-

analyses. Id. He concluded that while the risk of Type I error was controlled, so that the risk of false



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positive was low, the studies were not large enough to avoid Type II errors (false negatives) with

respect to an increased risk of approximately 50%. Id.

        Dr. Wells was able to calculate the probability that the two meta-analyses under consideration

would fail to detect a true effect of a 50% increased risk – that is, return a false negative – given the

sample sizes of the studies. He found that for one of the meta-analyses, “the probability of a Type II

error is an intolerable 71.57%.” Id. at 7. The probability of failure to detect a 50% increased risk in the

other meta-analysis was 45.45% for one set of endpoints and 74.15% for the other. Id. Dr. Wells went

on to calculate how large the underlying studies would have to be to bring the Type II error rate down
to 20% (also referred to as 80% power). He calculated that for one of the meta-analyses, the sample

size would have to have been 3.5 times as large as it was in order to reduce to 20% the probability that

the study would fail to detect a 50% risk in cardiovascular endpoints. Id. at 8. Dr. Wells noted that the

authors of other studies had calculated that similar sample sizes were needed to reach similar Type II

error rates.

        Dr. Wells also performed a Bayesian meta-analysis, see Ex. 2, Wells Report at 8-10, and a

sensitivity and sub-group analysis, id. at 10-11, in order to analyze whether TRT increases the risk of

heart attacks and strokes in men. His Bayesian analysis showed an 85% probability that TRT does

increase the risk of stroke and MI in men. Id. at 2; 10. His sub-group analyses showed that in one

meta-analysis, a composite cardiovascular endpoint was “significantly associated with testosterone

therapy” for duration of less than one year and that there was greater risk for these endpoints with the

transdermal formulations. Id. at 11. He similarly found that “[t]he more specific MACE (MI and

stroke) is significantly associated with testosterone therapy for transdermal formulations.” Id. He also

concluded that “[i]n each of the subgroup analyses, the Type I error rate has been controlled so the

chance of a false positive is small.” Id.

        Dr. Wells offered similar opinions with respect to the both the AbbVie and the Auxilium

bellwether cases. AbbVie moved to exclude his opinion; the Court denied the motion. See CMO 46.

The Auxilium Defendants did not seek to exclude Dr. Wells’ testimony.


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Hossein Ardehali, M.D., Ph.D.

       Dr. Hossein Ardehali is a cardiologist and research physician with both an M.D. and a Ph.D.

in molecular physiology and biophysics from Vanderbilt University. He is board- certified in

cardiovascular medicine and is a Fellow of the American College of Cardiology and the American

Heart Association. Ex. 3, Ardehali General Report at 2. Dr. Ardehali is currently a tenured professor

of Medicine – Cardiology and Pharmacology at the School of Medicine, Northwestern University, as

well as the Director of the Center for Molecular Cardiology there. Id. Dr. Ardehali has previously

provided general and specific causation opinions in this MDL; his credentials were discussed in detail

in the briefing on the AbbVie Defendants’ motions to exclude those opinions.

       In this case, Dr. Ardehali has provided six reports: a general causation report (“Ardehali

General Report”) and supplement (“Ardehali Supplemental General Report”) and case-specific

reports with respect to the cause of Plaintiffs Martin’s and Brubaker’s heart attacks and supplements

to both (respectively, the “Ardehali Martin Report” and “Ardehali Brubaker Report”). In his general

causation report, Dr. Ardehali offers twenty opinions concerning cardiovascular disease and

testosterone supplementation. See Ex. 3, Ardehali General Report at 105-108. Key among these

opinions are Dr. Ardehali’s opinions that: (a) “[e]xogenously administered testosterone therapy in

men increases the risk of a major cardiovascular event (myocardial infarction or cerebrovascular

accident) through rheological, biochemical, and coagulation system effects that can affect the integrity

of blood flow within the coronary artery or cerebrovascular circulations,” id. at 105; (b) [t]he adverse

effects of exogenously administered testosterone therapy are amplified in subpopulations of men who

have preexisting conditions associated with increasing levels of atherosclerotic burden and an

underlying chronic inflammatory state,” id.; (c) “[t]here is a considerable body of evidence that

identifies low endogenous testosterone levels in the setting of non-classical hypogonadism as a

biomarker of diminished health and risk for major cardiovascular event in middle-aged and older men;

(d) “[t]here was and is a lack of long-term safety [data] regarding the administration of testosterone

therapy to middle-aged and older men with decreased levels of testosterone related to aging or

comorbid conditions which frequently accompany the aging process,” id. at 106; (e) “The evidence

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demonstrates that the administration of exogenous testosterone to middle-aged and older men who

are diagnosed with testosterone declines unrelated to classical hypogonadism is dangerous because it

increases the risk of coronary artery and cerebrovascular occlusive events (heart attack and stroke),”

id. at 106-07; and (f) “[k]nown mechanisms of action existed at the time of Androderm launch which

would have informed a reasonable pharmaceutical company that the administration of testosterone to

men with significant cardiovascular risk factors was unsafe and potentially created an unreasonable

risk.” Id. at 108.

          In his Martin case-specific report, Dr. Ardehali reviews Mr. Martin’s medical history, noting
he has several common conditions, all well managed. Ex. 4, Ardehali Martin Rpt. at 2-3. He also

detailed the events surrounding Mr. Martin’s Androderm prescription, particularly noting that

Mr. Martin inquired whether his chronic fatigue could be due to low testosterone and requesting his

physician trial him on TRT once the values came back as low normal. Id. at 5. And, he examined the

circumstances of Mr. Martin’s myocardial infarction and his treatment for it, particularly noting that,

having reviewed the catheterization lab report and the catheterization images, Dr. Ardehali agreed

with the findings in the report. Id. at 6-7.

          Dr. Ardehali analyzed Mr. Martin’s ten-year risk of having a cardiovascular event at the time

of his MI, using the Framingham Risk Score algorithm and determined that Mr. Martin’s ten-year

statistical risk for a cardiovascular event at that time was 7.3. Importantly, Dr. Ardehali made this

calculation using every factor the Framingham algorithm treats as a potential risk for a cardiovascular

event, but not factoring in the role testosterone replacement therapy played.

          Dr. Ardehali explains that Mr. Martin’s MI was caused in part by the effect testosterone has

on increasing atherosclerotic burden and in part by the pro-thrombotic effect caused by the TRT. He

concludes: “But for the use of the Androderm testosterone product, Mr. Martin would not have

experienced the MI and myocardial damage.” Ex. 4, Ardehali Martin Report at 14. He further explains

that “[t]he Androderm therapy was a substantial factor in causing this myocardial infarction event

because of its effects on coagulation under circumstances of a systemic chronic inflammatory disease.”

Id.
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        In his Brubaker case-specific report, Dr. Ardehali reviews Mr. Brubaker’s medical history,

noting he has several pre-existing medical conditions. Ex. 5, Ardehali Brubaker Rpt. at 2-3. He also

detailed the events surrounding Mr. Brubaker’s Androderm prescription, particularly noting that Mr.

Brubaker inquired whether he had “Low T” after seeing commercials and requesting his physician

prescribe him TRT. Id. at 4. And, he examined the circumstances of Mr. Martin’s myocardial infarction

and his treatment for it. Id. at 4 6.

        Dr. Ardehali analyzed Mr. Brubaker’s ten-year risk of having a cardiovascular event at the time

of his MI, using the Framingham Risk Score algorithm and determined that Mr. Brubaker’s ten-year
statistical risk for a cardiovascular event at that time was 12.9%. Importantly, Dr. Ardehali made this

calculation using every factor the Framingham algorithm treats as a potential risk for a cardiovascular

event, but not factoring in the role testosterone replacement therapy played.

        Dr. Ardehali explains that Mr. Brubaker’s MI was caused in part by the effect testosterone has

on increasing atherosclerotic burden and in part by the pro-thrombotic effect caused by the TRT. He

concludes: “But for the use of the Androderm testosterone product, Mr. Brubaker would not have

experienced the MI and myocardial damage.” Ex. 4, Ardehali Brubaker Report at 111. He further

explains that “The Androderm therapy was a substantial factor in causing this myocardial infarction

event because of its effects on coagulation under circumstances of a systemic chronic inflammatory

disease.” Id.

        This Court has previously denied a motion to exclude Dr. Ardehali’s general causation opinion

in the AbbVie bellwether cases and similarly denied motions to exclude Dr. Ardehali’s case-specific

opinions in both the AbbVie and Auxilium bellwether cases. See CMO 46, CMO 76. (Dr. Ardehali

also offered a general causation opinion for the Auxilium bellwether cases; the Auxilium Defendants

did not seek to exclude it.)
Robert W. Johnson

        Robert W. Johnson is an economic damages expert. He has an educational background in

business administration, economics, finance, and investments. See Ex. 17, Johnson Original Report at


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20-23. He holds a B.A. in Business Administration with a major in economics from Baruch College

and has an MBA from Stanford University with a major in finance and investments. Id. He has

practical experience, skill, and training from his time working as (i) a securities analyst Donaldson,

Lufkin & Jenrette where he analyzed and made stock recommendations to the 100 largest financial

institutions in the United States; (ii) a securities analyst and portfolio manager for American Express

Investment Management Co. where he analyzed and made stock recommendations for six industries

and managed part of a $700 million mutual fund; (iii) an Assistant to the Vice President of HRB Singer,

Inc. where he directed corporate acquisition policy and special situations analysis of corporate
divisions; and (iv) an Assistant to Group Controller for FMC Corp where he coordinated and

approved all capital expenditures ($75 million per year) for the $2.5 billion Defense Group. He also

has been performing economic and damage analyses for more than 35 years in his time at Legal

Economic Evaluations Inc. and Robert W. Johnson & Associates. Id. From this background, Mr.

Johnson is qualified to examine and calculate a company’s financial condition. Mr. Johnson opines

that Actavis plc is a “strong and stable company” with a net worth of $73.8 Billion. See Ex. 6, Johnson

Suppl. Rpt. at 1. His opinions are based upon a valid methodology for his field as he determined

Actavis plc’s financial condition based upon his review of financial data from Securities and Exchange

Commission (“SEC”) filings as well as news releases from the company and market capitalization data

from Yahoo! Finance. His proposed testimony will assist the jury because this type of financial analysis

is beyond the knowledge and skill of a lay juryperson.

        The Court previously held that Mr. Johnson’s expert testimony was unnecessary in the AbbVie

bellwether trials because AbbVie stipulated to its net worth. The Actavis Defendants have not

stipulated to any entity’s net worth.
                                        LEGAL STANDARDS
        This Court has set forth the legal standards to be applied on a motion under Fed. R. Evid. 702

in its ruling on the AbbVie defendants’ motion to exclude the testimony of plaintiffs’ experts. See

CMO 46, Dkt. No. 1895 (May 8, 2017); CMO 48, Dkt. No. 1897 (May 8, 2017).



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                                              ARGUMENT
        The testimony of Drs. Gerstman, Wells, and Ardehali, and Robert Johnson will assist the trier

of fact by explaining scientific and technical material concerning testosterone and heart disease.

        Actavis asserts that Plaintiffs have no reliable expert testimony regarding general causation –

that testosterone is capable of causing heart attack – criticizing the studies and meta-analyses upon

which Dr. Gerstman, Dr. Ardehali, and Dr. Wells rely. Plaintiffs respectfully ask the Court to continue

to reject these attacks. When these arguments were first raised during the AbbVie bellwether process,

this Court stated: “Ultimately, experts on both sides of this litigation have analyzed the existing

epidemiological evidence in detail, criticizing the studies on which the other side relies, and drawing

different conclusions from the literature. This is not a case in which plaintiffs’ experts have simply

cherry-picked the favorable studies while ignoring unfavorable studies entirely.” CMO 46, citing In re

Zoloft (Sertaline Hydrochloride) Prod. Liab. Litig., 26 F.Supp.3d 449, 460-61 (E.D. Pa. 2014); In re Rezulin

Prod. Liab. Litig., 369 F.Supp.2d 398, 425-26 (S.D. N.Y. 2005). “At this stage, it is not the Court’s role

to choose between competing studies. The studies’ merits and demerits can be explored at trial. Id.

(internal citations omitted).

        On the case-specific side, Dr. Ardehali’s differential etiology in these cases mirrors the

requirements of the Seventh Circuit and the demands of Daubert v. Merrell Dow Pharm., Inc., 509 U.S.

579 (1993). As this Court has previously recognized, “a differential diagnosis, also referred to more

accurately in this context as a ‘differential etiology,’ is a reliable methodology for making a specific-

causation determination.” CMO 46 at 42, citing Schultz v. Akzo Nobel Paints, LLC, 721 F.3d 426, 433

(7th Cir. 2013) (differential diagnosis and differential etiology are “generally accepted means for

evaluating the cause of a plaintiff’s injury”). In “a differential etiology, the doctor rules in all the

potential causes of a patient’s ailment and then by systematically ruling out causes that would not apply

to the patient, the physician arrives at what is the likely cause of the ailment.” Id. As the Seventh Circuit

has held, there “is nothing controversial about that methodology.” Id. A differential etiology “satisfies

a Daubert analysis if the expert uses reliable methods.” Brown v. Burlington N. Santa Fe Ry. Co., 765 F.3d



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765, 772 (7th Cir. 2014). This Court has already held that a properly-conducted differential etiology

“is a reliable methodology for making a specific-causation determination.” See CMO 46 at 42.

         The standard for proper differential etiology under Daubert does not require an expert to rule

out every alternative cause. Schultz, 721 F.3d at 434. The court “may consider whether they adequately

account for obvious alternative explanations.” Id., quoting Fed. R. Evid. 702 Committee Note (2000)

(internal quotations omitted). See also, e.g., Westberry v. Gislaved Gummi AB, 178 F.3d 257, 265 (4th Cir.

1999) (a “medical expert’s causation conclusion should not be excluded because he or she has failed

to rule out every possible alternative cause of a plaintiff’s illness.”). “[O]nly ‘where a defendant points
to a plausible alternative cause and the doctor offers no explanation for why he or she has concluded

that was not the sole cause’” is that doctor’s methodology unreliable. Heller v. Shaw Indus., Inc., 167

F.3d 146, 156 (3d Cir. 1999). The expert “must provide a reasonable explanation as to why he or she

has concluded that [any alternative cause suggested by the defense] was not the sole cause of the

plaintiff’s injury.” Guinn v. AstraZeneca Pharms. LP, 602 F.3d 1245, 1253 (11th Cir. 2010) (internal

quotations omitted). As discussed more fully below, Dr. Ardehali’s methodology in these cases is

identical to that previously admitted in his general and case-specific reports, and should be admitted

here once again.



I.       DR. GERSTMAN, DR. WELLS, AND DR. ARDEHALI’S OPINIONS RELATED TO
         GENERAL CAUSATION SHOULD NOT BE EXCLUDED
         Actavis does not challenge the qualifications of Plaintiffs’ causation experts. Instead, it focuses

its attack on the reliability of the methodologies the experts use in reaching their opinions that TRT

is capable of causing Plaintiffs’ alleged injuries. Actavis asserts that the following are all prohibitively

unreliable: (1) composite endpoints; (2) Bayesian meta-analyses; (3) Plaintiffs’ proposed mechanisms

of injury; (4) the testosterone epidemiological studies; and (5) animal and in vitro studies. Actavis also

argues that Plaintiffs’ experts’ opinions are irrelevant because Plaintiffs are too young. All of these

arguments fail. Dr. Gerstman, Dr. Wells, and Dr. Ardehali use reliable methodologies in reaching their

opinions. Plaintiffs’ experts appropriately consider the totality of the evidence in forming their

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opinions. See, e.g., In re Tylenol (Acetaminophen) Mktg., Sales Practices, & Prod. Liab. Litig., 198 F.Supp.3d

446, 458 (E.D. Pa. 2016) (where expert based causation opinion on “totality of the evidence,”

including clinical trials, animal studies, case reports, and his own clinical experience, opinion was

reliable and admissible). Dr. Gerstman, Dr. Wells, and Dr. Ardehali consider and address the

purported flaws of the studies on which they rely and also offer their own criticisms of the studies

that have not found any association between TRT and increased cardiovascular risk. See CMO 46 at

25. As this Court has held before, Plaintiffs’ experts’ totality of the evidence approach is a reliable one

because of how they have applied it. They have not, for example, cherry-picked studies or failed to
grapple with contrary evidence. Plaintiffs’ experts address each study individually, pointing out the

merits and demerits of each. Actavis, like AbbVie, is likely correct that no single piece of evidence the

experts rely upon is sufficient to support their causation opinions. But the experts have adequately

explained why they have reached their conclusions on the basis of the evidence as a whole. See CMO

46 at 32, citing Milward v. Activity Specialty Prod. Grp., Inc., 639 F.3d 11, at 23 (1st Cir. 2014). The Court’s

inquiry at this stage is to determine whether the experts “considered sufficient data to employ the

methodology,” not whether their consideration of the data led to the correct conclusion. Stollings v.

Ryobi Techs., Inc., 725 F.3d 753, 766 (7th Cir. 2013). For an expert conclusion that is subject to doubt,

“[i]t is the role of the jury to weigh these sources of doubt.” Id.
        A.       Composite Endpoints
        Actavis argues that Dr. Gerstman, Dr. Wells, and Dr. Ardehali impermissibly rely on some

version of cardiovascular event composite endpoints in support of their opinions related to general

causation. Plaintiffs’ experts’ consideration of composite endpoints does not make their opinions

unreliable.

        Composite endpoints can be very helpful to statistical analysis, particularly where the existing

studies are, as here, underpowered. Actavis’ own statistician agreed with the FDA that composite

endpoints can provide a substantially higher overall event rate that allows a study with a reasonable

sample size and study duration to have adequate power. Ex. 7, Kevin Kip Tr. at 209-210. (“[O]f the

factors that influence statistical power, low event rates generally have less power, and so [the FDA] is

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suggesting that if you put together multiple endpoints, such as death, MI, and stroke, there are more

events, which, assuming the same relative risk, will increase statistical power.”), citing FDA Draft

Guidance, Multiple Endpoints in Clinical Trial, attached as Ex. 8. As Dr. Kip concedes, the FDA

exemplifies the benefit of using composite endpoints by pointing to the analysis of myocardial

infraction, stroke, and death together. See Ex. 7, Kip Tr. at 211; Ex. 8, Draft Guidance at 19. Dr. Kip

also agreed that the testosterone therapy studies and trials are all low power because of the small

number of event rates and sample size. Ex. 7 at 210-211 (“The individual studies overall were

underpowered with respect to cardiovascular events.”). Ultimately, Actavis’ own expert, Dr. Kip,
agreed that it was, not only appropriate, but best practice to use composite endpoints given these facts.

Id. at 211:6-9.

        Dr. Gerstman, Dr. Wells, and Dr. Ardehali testified that reporting individual, component

endpoints separately can sometimes be good statistical practice. See Ex. 9, Gerstman Tr. at 132; Ex.

10, Wells Tr. at 99; Ex. 11, Ardehali Tr. at 59-60; 193. However, as Dr. Gerstman qualified, it is not

required practice. See Ex. 9, Gerstman Tr. at 132; 137-8 (“[B]ecause if you analyze every permutation

of endpoint, you are endlessly doing analyses and you are running into the problem we discussed

previously, that of multiplicity”); see also id. at 139 (stating whether to analyze component endpoints

“would depend upon the research question and the available data and the limitations therein”); and

Id. at 144 (“When feasible and when appropriate”). Dr. Ardehali opined that “you have to make sure

that the study is powered enough to look at those specific [composite] endpoints.” Ex. 11, Ardehali

Tr. at 196.

        Plaintiffs’ experts reliably utilized composite endpoints where limited data was available. Id. at

203-204 (Where “limited data [is] available” it is appropriate to “use the data you have and get the best

results out of it”). Dr. Gerstman testified that the objective of his report was to address the relation

between testosterone therapy and arterial thromboembolism. See Ex. 9, Gerstman Tr. at 131. He

opined that it was beneficial for him to analyze composite endpoints for the purpose of his meta-

analysis given the insufficient number of cases reported in clinical trials. Id. (“If you have too few

cases, a very small power for individual endpoints, then you’re spinning your wheels by comparing,
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say, six cases to ten cases.”). Due to the small number of events, Dr. Gerstman testified that an analysis

of the individual endpoints was not appropriate. Id.

        Actavis’ own statistical expert, Dr. Kip, conceded that even he did not follow every “gold

standard” procedure in the analysis of composite and component endpoints. Ex. 7, Kip Tr. 213-215

(admitting that he did not use a multiple correction procedure to address the issue of the potential

false finding he could get from multiplicity in looking at both composite endpoints and component

endpoints), citing FDA Draft Guidance, Ex. 8. Dr. Kip’s failure to adhere to these procedures is

certainly territory for cross-examination, but not exclusion. The same is true for Plaintiffs’ experts’
reliance upon composite endpoints without further analysis of the component endpoints.

        Plaintiffs’ experts have analyzed all existing evidence in detail, criticized the evidence on which

Actavis relies, and have drawn conclusions from the evidence that differs from that of Actavis’ experts.

This is not a case in which Dr. Gerstman, Dr. Wells, and Dr. Ardehali have simply cherry-picked the

favorable studies while ignoring unfavorable studies entirely. “At this stage, it is not the Court’s role

to choose between competing studies.” CMO 46 at 28, citing Schultz, 721 F.3d at 433. The studies’

merits a demerits can be explored at trial. Id.
        B.      Bayesian Meta-Analyses
        Actavis argues that Dr. Gerstman and Dr. Wells improperly rely upon Bayesian meta-analyses.

Bayesian analysis is a reliable, well-accepted methodology that has been the subject of extensive peer-
reviewed analysis. Meta-analysis is a method of pooling study results to arrive at a single figure to

represent the totality of the studies reviewed. See REFERENCE MANUAL ON SCIENTIFIC

EVIDENCE (3d ed. 2011) (“RMSE” or “Reference Manual”) at 607; see also id. at 581 n.89. By

combining the data from multiple studies, meta-analyses can add to the understanding of data that has

been derived from small, underpowered studies (as is the case in most of the clinical trials of

testosterone). As the Reference Manual explains, “In a meta-analysis, studies are given different

weights in proportion to the sizes of their study populations and other characteristics.” RMSE at 607.

Courts have recognized that meta-analysis is a regularly used and (when properly performed) reliable

scientific technique. See In re Paoli Railroad Yard PCB Litigation, 916 F.2d 829, 856–57 (3d Cir. 1990); In

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re Bextra and Celebrex Marketing Sales Practices and Product Liability Litigation, 524 F.Supp.2d 1166, 1184

(N.D. Cal. 2007); and CMO 46.3

        Actavis’ expert, Dr. Kevin Kip, testified there are “competing schools of thought” regarding

whether the Bayesian or the “frequentist” approach is a better statistical method. See Ex. 7, Kip Tr. at

52-53 (“[W]hen I studied at the University of Pittsburgh they taught all frequentist statistics and across

the street at Carnegie Mellon they taught Bayesian statistics”). However, as Dr. Kip states, it is merely

“personal preference.” Id. at 53. In fact, the FDA has issued guidance that authorizes for purposes of

industry the ability to use either frequentist or Bayesian methods in designing and analyzing clinical

trials. Id. at 54-55. While Bayesian methods have not been frequently utilized in the context of

pharmaceutical drugs and medical devices in the past, they are becoming more common. See Ex. 10,

Wells Tr. at 194. “Now, people use Bayesian methods for very complex models.” Id. at 200. Moreover,

this Court has held that these specific meta-analyses are reliable. See CMO 46 at 29-31. As AbbVie

conceded, Bayesians are “a well-established minority” in the field of statistics. Id. at 29, citing RSME at

529.

        Because meta-analyses combine the results from multiple studies, the number and quality of

the underlying studies, their compatibility for meaningful combination, and the method used to

combine their results are all important factors in assessing the soundness of any particular meta-

analysis. Plaintiffs’ experts’ analysis of the meta-analyses was painstaking, with detailed explanations

of the strength and weakness of each one. After careful review, they concluded that the scientific

research showed that Androderm caused an increased risk of cardiovascular events.

        There are many different ways to analyze data and perform meta-analyses using Bayesian

approaches. See Ex. 10, Wells Tr. at 187. Actavis argues that Plaintiffs’ experts’ specific approach to

their Bayesian meta-analyses, based on John Carlin’s “Meta-Analysis for 2x2 Tables: A Bayesian




3
 For additional background, Plaintiffs thoroughly discussed Bayesian analysis during the AbbVie
bellwether process. See Pls.’ Br., Dkt. No. 1812. Plaintiffs incorporate those arguments herein.

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Approach,” is unreliable because of limited data sets. Carlin’s approach, Actavis argues, only works

with very large sample size data sets form which to draw. Actavis is wrong.

        Actavis’ expert, Dr. Mark Weisberg, admitted that there were “adequate number of trials that

were included by Dr. Gerstman and Dr. Wells in their Bayesian analysis” but “not enough data within

each one of trials.” Ex. 12, Weisberg Tr. at 183. Yet Dr. Wells testified numerous times during his

deposition that Carlin’s small data set concern is not nearly as important as the distribution of the log

odds ratio when plotting the data. See Ex. 10, Wells Tr. at 190 (“[I]t really depends on the distribution

of the plot estimates”); Id. (“[T]he model is about the distribution of the log odds ratio, because that’s
what’s normal, not the – not related to the counts, it’s just related to what the log odds ratio is”); Id.

at 192 (“Yes, the [observed counts are] small, but the model implicit here is about the distribution of

the log odds ratio; it’s normal with something. So I think that’s – it’s probably true, because, you know,

whenever you have small counts, you get more variability, but the model itself is all about the

distribution of the log odds ratio”); Id. at 201 (“And again, it’s the distribution of the odds ratio – the

log odds ratio – not necessarily the event counts”).

        Dr. Wells testified that he plotted the estimates onto a histogram and the log odds ratio

distribution appeared appropriately distributed. Id. at 190. In short, Plaintiffs’ experts have adequately

explained why their particular utilization of their meta-analyses are reliable. But perhaps more

importantly, Actavis points to no legal authority to support their argument that the meta-analyses here

should be excluded. Actavis’ further argument regarding study biases and lack of peer review and

publication are appropriate areas for cross-examination but not exclusion.4 See CMO 46 at 30 (“[T]hat

is an issue affecting the weight to be accorded to the analysis, not its admissibility”).

        As described below Plaintiffs’ experts did not stop with consideration only of the RCTs,

observational studies, and meta-analyses specific to testosterone therapy and cardiovascular disease.

They also considered evidence of the mechanism by which testosterone might increase the risks of

heart attacks. Thus, they considered biochemical and biomedical research concerning the effects of

4
 This Court held that not publishing a journal article on Bayesian analysis does not render the expert
unqualified or the opinions unreliable. See CMO 46 at 30.
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sex hormones on inflammation, on platelet formation, on reactive oxygen species, and on red blood

cell mass and blood viscosity. Noting that estradiol (estrogen) is a metabolite of testosterone (meaning

that testosterone may be converted to estradiol in the body), Plaintiffs’ experts also considered studies

concerning the effects of exogenously administered estrogen on both men and women with regard

to cardiovascular events.5

        Accordingly, as this Court has previously found, Dr. Wells and Dr. Gerstman reliably utilized

Bayesian meta-analyses and their opinions should not be excluded.
        C.      Proposed Mechanisms of Injury
        Plaintiffs’ experts posit a number of potential mechanisms by which Androderm and other

TRT drugs might increase the risk of cardiovascular injuries. Specifically, Plaintiffs’ experts suggest

TRT is pro-thrombotic – that is, it increases the risk of blood clots – because of its tendencies to

increase (1) estradiol, a metabolite of testosterone and a form of estrogen, which has been connected

to increased risk of clot formation; (2) thromboxane A2 receptors, which can promote abnormal

platelet function and increased risk of clotting; (3) hematocrit (the ratio of the volume of red blood

cells to the total volume of blood), which can increase blood viscosity, leading to a higher incidence

of clotting; and (4) oxidative stress, which leads to an acceleration of coronary artery plaque volume.

        Plaintiffs’ experts discuss the plausibility of the biological mechanism in particularly extensive

detail, relying on various studies and their biological knowledge to explain how elevated estradiol,

thromboxane, hematocrit, and oxidative stress, among other mechanisms, may increase cardiovascular

risk. Actavis, like AbbVie, criticizes Plaintiffs’ experts mechanism theories because they do not rely

on any studies that demonstrate a link between use of TRT in human beings and the proposed

mechanism plus a link between the proposed mechanism to cardiovascular events. But Actavis, like

AbbVie, cites to no authority that says experts must be held to so high a standard in demonstrating

the plausibility of mechanism. Rather, an analysis of biological plausibility “asks whether the

5
  Although Plaintiffs’ experts consider the mechanisms by which testosterone may increase the risks
of cardiovascular events, they do so primarily to understand biological plausibility and to understand
the likely reasons behind the data showing this increased risk (as well as, elsewhere, to establish that,
knowing of these mechanisms, Actavis knew or should have known about the dangers of Androderm).
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hypothesized causal link is credible in light of what is known from science and medicine about the

human body and the potentially offending agent. Milward, 639 F.3d at 26. It is sufficient for Plaintiffs’

experts to provide independent valid bases for determining that the link between TRT and the

proposed mechanism is credible and that the proposed mechanism is also credibly linked to the alleged

injury. CMO 46 at 29.

                1.        Estradiol
        Plaintiffs’ use of analogous evidence does not render their opinions unreliable. Actavis argues

that Drs. Gerstman and Ardehali cherry-pick certain portions of estrogen studies and improperly

extrapolate from clinical trials in women showing increased estradiol associated with CV events to

men on TRT. This might be so if evidence from hormonal contraceptives or hormone replacement

therapy were the only evidence on which these experts based their opinions. But, as described

throughout this brief, that is clearly not the case. The opinions of Drs. Gerstman and Ardehali are

solidly grounded in studies specifically involving TRT therapy in men. That the evidence of these

studies is further confirmed by analogous studies – the effect of estradiol (a metabolite of testosterone)

on cardiovascular risk in women taking hormonal contraceptives – does not make the experts’

opinions less reliable.

        Indeed, testosterone manufacturers looked at the analogy between heightened risks of clotting

associated with estrogen use in women (as shown in studies involving oral contraceptive pills and so-

called estrogen HRT (“hormone replacement therapy”)) and the potential of testosterone to increase
such risks. See Pls.’ Br. (Dkt. No. 1812) at 57-58. Testosterone clinical trials measured subjects’

estradiol levels specifically because estradiol is a metabolite of testosterone and is associated with CV

events in women on hormone replacement therapy. See AbbVie Causation Br. (Dkt. No. 1748) at 15.

Plaintiffs’ experts’ consideration of the same evidence that TRT manufacturers looked at (albeit with

different conclusions) does not make the opinions unreliable. Regardless, an expert is permitted to

extrapolate from the available data. See C.W. v. Textron, Inc., 807 F.3d 827, 833 (7th Cir. 2015) (experts

can extrapolate from available data when data is not available that addresses the impact of an agent in

the precise population at issue). Plaintiffs’ experts properly extrapolated from women to men here.

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        This Court rejected AbbVie’s argument that Plaintiffs’ experts’ consideration of HRT studies

rendered their opinions unreliable (see CMO 46 at 33-34) (“[T]he fact that testosterone metabolizes

into estradiol makes it reasonable to consider how increased levels of estrogen affected women under

hormone therapy. Indeed, such evidence could be particularly relevant for analyzing the plausibility of

increased estradiol as a mechanism”). Plaintiffs’ respectfully request that the Court continue to do so

as it relates to Actavis.

                 2.         Hematocrit
        Plaintiffs’ experts opine that testosterone therapy affects red cell mass and the rheological

properties of blood through the arterial system. See, e.g., Ex. 3, Ardehali Rpt. at 75. Dr. Ardehali states

that the “erythropoietic-stimulating effects of androgens have been known for well over half a

century.” Id. Actavis does not make any specific arguments regarding Dr. Gerstman’s opinions

regarding hematocrit. Instead, Actavis centrally argues that Dr. Ardehali’s “principal reliance” for his

hematocrit argument is only on one flawed observational study that found a positive association

between elevated hematocrit and cardiovascular disease mortality in men. See Defs.’ Br. at 26. Actavis

also argues that Dr. Ardehali unreliably supplements that opinion by pointing to several clinical trials

related to erythropoiesis and its association with cardiovascular events and mortality.

        Dr. Ardehali in no way principally relies on the Erikssen study to support his conclusions

regarding hematocrit. Dr. Ardehali’s report discusses Brown, et al., which assessed the association

between hematocrit and CAD in approximately 9,000 adults from the Second National Health and
Nutrition Examination Survey. See Ex. 3, Ardehali Rpt. at 75. He noted Wells, et al., an article in 1962

for the proposition that for the past half-century, scientists have observed that an increase in red blood

cells increases blood viscosity and increases the risk of thrombosis and occlusion. Id. He cited Hall’s

medical textbook, which demonstrates in a chart the steep rate of rise of blood viscosity with

incremental changes in hematocrit. Id. at 75-76. He also relied on the Framingham Heart Study that

observed higher cardiovascular disease mortality in men who had higher hematocrit values. Id. at 76;

see also Carter, et al., Sorlie, et al., and Kunnas, et al. (supporting association between hematocrit levels

and CV events). Moreover, Erikssen’s observational study reported positive associations between

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elevated hematocrit and CAD mortality in men. Id. Erikssen fits within the totality of evidence upon

which Plaintiffs’ experts may appropriately rely.

        Dr. Ardehali supplements his opinion regarding the hematocrit mechanism with studies

regarding erythropoiesis, or the endogenous production of erythropoietin. These studies concluded

that erythropoietin therapies increase cardiovascular events and mortality. Dr. Ardehali observed that

these trials observed statistically significant increases in cardiovascular and all-cause hospitalizations

in the higher hemoglobin group. See Ex. 11, Ardehali Tr. at 89. He also clarified that MI component

endpoints do not show a statistically significant increase in high hemoglobin groups because of the
very small number of events involved as compared to the sufficiently powered composite endpoints.

Id. (“The numbers are very small. There is no difference between the two groups … [G]iven that the

numbers are very small for myocardial infarction, there is no difference”); see supra at Section I.A. The

composite endpoints support the conclusion that erythropoietin is associated with increased

cardiovascular events.

        Actavis makes a myopic attack on one study while ignoring the other surrounding totality of

evidence. Drs. Gerstman and Ardehali appropriately included Erikssen’s observational study and

various studies regarding erythropoiesis in their consideration of whether testosterone therapy affects

red cell mass and the rheological properties of blood through the arterial system. Plaintiffs’ experts

have credibly relied upon various evidence regarding hematocrit. Accordingly, Dr. Gerstman and Dr.

Ardehali’s opinions regarding hematocrit should not be excluded.

                3.       Thromboxane
        Actavis argues that Plaintiffs’ experts inappropriately rely on Ajayi, a small clinical trial that

found an association between testosterone injections in young, healthy men with normal testosterone

levels and an increase in platelet aggregation. In essence, just as AbbVie did, Actavis argues that studies

about different TRT formulations that are administered to a population that is different from the

target population for Androderm are, by themselves, insufficient data on which to base an expert

opinion about Androderm. See CMO 46 33. But the studies are not so disconnected from the facts of

this case that they render Plaintiffs’ experts’ opinions unreliable. Id. In other words, Plaintiffs’ experts

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have not performed an unreliable extrapolation of facts from young, healthy men to older men.

Evidence that disparate levels of testosterone in young, healthy men have adverse effects may shed

light on the effects of different testosterone formulations use in older men. Id. at 34. An expert is

permitted to extrapolate from the available data. See C.W. v. Textron, Inc., 807 F.3d 827, 833 (7th Cir.

2015). Thromboxane’s association with cardiovascular events is also supported by several other studies

and publications. See Ex. 3, Ardehali Rpt. at 119 (relying on Ferenchick, Davi, et al., Hilal-Dandon, et

al., Cheng, et al., Pearson, et al., Halushka, et al., and Matsuda, et al.); Ex. 1, Gerstman Rpt. 134-135

(relying on Moncada, Nakao, and Gryglewski, et al.). Actavis again attacks one study and ignores the
surrounding evidence. Taken together, Plaintiffs’ experts’ opinions regarding thromboxane are reliable

and will assist the jury.

                 4.         Plaque Volume
        Plaintiffs’ experts opine that TRT increases coronary artery plaque volume. Actavis contends

that Dr. Ardehali and Dr. Gerstman inappropriately rely on Budoff, et al. (the so-called

“Cardiovascular T Trial,”) a double-blind, placebo-controlled clinical trial using coronary CT

angiogram to test the hypothesis that testosterone treatment would slow progression of coronary

artery plaque volume and non-calcified plaque as determined by coronary computed tomographic

angiography. See Ex. 3, Ardehali Rpt. at 88; Ex. 1, Gerstman Rpt. at 90. The groups were balanced

with respect to atherosclerosis indicators at baseline because the randomization was effective. Id.

Compared to the placebo group, testosterone treatment was consistently associated across three
measurements with significantly greater increases in non-calcified and total plaque volume. Ex. 3,

Ardehali Rpt. at 88; Ex. 1, Gerstman Rpt. at 91. As Dr. Gerstman opined in his report “This is

important evidence about the mechanism by which testosterone supplementation increases

cardiovascular risk in older men.” Id. Budoff, et al. demonstrated that treatment with testosterone

“causes an increase in plaque size and non-calcified plaque in coronary arteries, which are both factors

that increase the risk of heart attack.” Ex. 16, Ardehali Suppl. Rpt. at 8. Dr. Ardehali also notes that a

recent study by Mohler et al., which repeated all of the analyses of the effect of testosterone in the

men who participated in the Budoff study, “in conjunction with Budoff, et al. 2017, further informs

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my opinion about TRT and the increase in cardiovascular risk.” Id. at 11. Plaintiffs’ experts reasonably

rely on the Cardiovascular T Trial in positing that increases in plaque volume is associated with CV

events. Actavis fails to point to any legal authority supporting the exclusion of Plaintiffs’ experts’

reliance upon the Cardiovascular T Trial in support of their opinions.

                5.       Animal and In Vitro Studies
        Actavis claims that Plaintiffs’ experts improperly extrapolate from and rely upon animal and

in vitro studies (studies involving human tissues, blood, etc. carried out in a laboratory) in support of

their opinions regarding the various mechanisms of injury at issue here. When appropriately used,

especially in conjunction with human epidemiology, opinions based in part on animal and/or in vitro

studies meet all the requirements of Daubert and are admissible. See, e.g., In re Paoli R.R. Yard PCB Litig.,

35 F.3d 717, 781 (3d Cir. 1994) (district court abused its discretion in excluding evidence of animal

studies); In re Actos (Pioglitazone) Prod. Liab. Litig., No. 12-CV-00064, 2013 WL 6796461, at *12 (W.D.

La. Dec. 19, 2013). Even if an effect in animals is of limited relevance in showing the same effect in

humans, animal studies are highly relevant to the factor of biological plausibility, which has to do with

how living systems may plausibly react. This is precisely what the court held in the Actos litigation

where, as here, animal studies were offered to show biological plausibility, rather than to establish

causation. 2013 WL 6796461, at *12. This is all the more true with in vitro studies, which may involve

human blood and tissue.

        Moreover, this Court previously held that Plaintiffs’ experts’ reliance on these studies was
appropriate because they were “part of a much broader set of evidence and primarily for the purpose

of determining biological plausibility, for which animal studies and in vitro studies may be among the

most useful available evidence.” See CMO 46 at 34, citing In re Actos (Pioglitazone) Prod. Liab. Litig., No.

12-CV-00064, 2013 WL 6796461, at *12 (W.D. La. Dec. 19, 2013); Smith v. I-Flow Corp., NO-09-l-3908,

2011 WL 12556366, at *3 (N.D. Ill. May 3, 2011). Moreover, experts are permitted to extrapolate from

available data. See C.W. v. Textron, Inc., 807 F.3d 827, 833 (7th Cir. 2015). Accordingly, just as was the

case for the AbbVie bellwether case, Plaintiffs’ experts here reliably relied on animal and in vitro studies.



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        D.      Epidemiological Studies: Vigen and Finkle
        Actavis complains that Plaintiffs’ experts have cherry-picked certain observational

epidemiologic studies, such as Vigen and Finkle, to support their opinions. Actavis also argues that

those two studies are wholly unreliable. Dr. Gerstman and Dr. Ardehali both reviewed and assessed

the scientific literature concerning testosterone and cardiovascular disease. Both considered, in light

of all the evidence, whether a causal connection between testosterone and cardiovascular events had

been demonstrated to a reasonable degree of medical certainty. This methodology is well-established

and well-accepted, all the more so because the scientific literature these experts reviewed and relied

on also uses standard, reliable scientific methodologies, whether randomized clinical trials,

observational studies, or meta-analyses. See, e.g., Smith v. I-Flow, 2011 WL 12556366, *2 (opinion

reached after review of “dozens of articles and studies that were “either published in peer reviewed

journals, presented at national or international conferences, or contained in leading textbooks” reliable

and admissible); Yasmin & YAZ, 2011 WL 6302573, at *12 (denying motion to exclude testimony of

Dr. Gerstman that was based on his examination and analysis of design of multiple studies); In re

Seroquel Prod. Liab. Litig., No. 6:06-MD-1769-ORL-22D, 2009 WL 3806435, at *5 (M.D. Fla. June 23,

2009) (opinion formed by analysis and weighting of published scientific literature reliable and

admissible); In re Vioxx Prods. Liab. Litig., 401 F. Supp. 2d 565 (E.D. La. 2005) (where both sides’

experts reviewed the same studies and reached different conclusions, both had applied reliable

methodologies, and the district court found both sides’ expert testimony admissible).

        This Court previously held that experts on both sides of this litigation have provided

“extensive analysis” of four studies that reported a statistically significant association between TRT

and increased cardiovascular events, studies which prompted a petition to the FDA from a public

advocacy group and a subsequent investigation of the four studies and the potential risks of TRT. See

CMO 46 at 6. Two of the four studies that this Court held have been extensively analyzed are the two

studies that Actavis complains about here – Rebecca Vigen, et al., Association of Testosterone Therapy with

Mortality, Myocardial Infarction, and Stroke in Men with Low Testosterone Levels, 310 JAMA 1829 (2013) (the

Vigen study); William D. Finkle, et al., Increased Risk of Non-Fatal Myocardial Infarction Following

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Testosterone Therapy Prescription in Men, 9 PLOS ONE e85805 (2014) (the Finkle study). This Court

rejected AbbVie’s arguments that Vigen and Finkle were flawed and unreliable. The Court should

reject the same argument made by Actavis now.

        Plaintiffs’ experts reviewed 17 published observational studies, shown in a chart by Dr.

Gerstman’s report. See Ex. 1, Gerstman Rpt. at 50-52. Among these, the Finkle study, published in

2014, showed more than doubling of the risk of heart attack in testosterone users over the age of 65

(ratio of 2.2:1), and a near tripling of the risk in men under 65 with preexisting heart disease (ratio of

2.9:1). The Vigen study, published in 2013, also showed increased risk of smaller magnitude
(composite ratio 1.3:1). Id. Actavis alleges that Plaintiffs’ experts have ignored Li, et al. Actavis is

wrong. Dr. Ardehali analyzed Li, et al. in his Supplemental Report dated March 22, 2018 and found

several weaknesses in the study. See Ex. 16, Ardehali Suppl. Rpt. at 9-10. Dr. Ardehali noted that the

study was underpowered to look at CV events, used narrow CV definitions that excluded large groups

of MI patients, and was biased since it was designed and conducted by Eli Lilly employees. Id. at 10.

For these reasons, Dr. Ardehali’s opinions concerning the causal connection between TRT and CV

events remain unchanged. Id. at 12. Plaintiffs’ experts have carefully considered all evidence and

applied reliable methodologies.

        Like AbbVie, in arguing that Plaintiffs’ experts lack a sufficient basis for their conclusions,

Actavis emphasizes that the FDA reviewed the same data, specifically the same epidemiological

studies, as Plaintiffs’ experts but reached a different conclusion about whether TRT is associated with

cardiovascular injuries. Actavis, however, has not cited any authority for the proposition that

conclusions the FDA makes in its review of available data are legally or scientifically dispositive on

the issue of causation. In this context, the FDA’s opinions are analogous to the opinion of any other

expert in this case. Thus, although the FDA may have a different interpretation of the studies relied

upon by Plaintiffs’ experts, “it is left to the trier of fact, not the reviewing court, to decide how to

weigh the competing expert testimony.” Wipf v. Kowalski, 519 F.3d 380, 385 (7th Cir. 2008). Plaintiffs

respectfully submit that this Court should continue to reject the TRT Defendants’ arguments that the


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Vigen and Finkle studies are unreliable. Plaintiffs’ experts have provided reliable, scientific bases for

their opinions such that their testimony should be allowed and Actavis’ motion should be denied.
        E.      Plaintiffs’ Age
        Lastly, Actavis argues that all of Plaintiffs’ experts’ general causation opinions are unreliable

because Mr. Brubaker was 41 and Mr. Martin was 52 when they suffered their heart attacks. This is

so, Actavis contends, because all of Plaintiffs’ experts’ opinions are limited to “older men” and

Plaintiffs are not “old” enough. This argument is completely without merit.

        Plaintiffs’ experts have put forth a wealth of scientific evidence about how testosterone could

have caused Plaintiffs’ heart attacks, particularly regarding the various biological mechanisms at issue.

See supra at Section I.C. Moreover, Plaintiffs have relied upon studies that do show CV risk associated

with TRT use in men under 65 years of age. See, e.g., Ex. 1, Gerstman Rpt. at 51 (showing the Finkle

study found almost a tripling of MI risk for men under 65 years with a history of prior heart disease).

Plaintiffs’ experts’ opinions are not constrained to men who have celebrated their 65th birthday. The

instant studies and publications are not so disconnected from the facts of these cases that they render

Plaintiffs’ experts’ opinions unreliable. See CMO 46 (holding that studies about anabolic steroids and

female hormone therapy “may shed some light on the effects” of testosterone in different population

pools). Moreover, a certain amount of extrapolation from the available data is perfectly acceptable. See

C.W. v. Textron, Inc., 807 F.3d 827, 833 (7th Cir. 2015) (experts can extrapolate from available data
when data is not available that addresses the impact of an agent in the precise population at issue).

        The jury should hear testimony, backed by accepted medical science, about the possible

mechanisms and cause of Plaintiffs’ heart attacks and, after cross-examination, decide whether

Androderm was a substantial factor in causing those injuries through one or more of the mechanisms

described. Accordingly, Actavis’ motion regarding Plaintiffs’ experts’ opinions regarding general

causation should be denied.




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II.     DR. ARDEHALI’S SPECIFIC CAUSATION OPINIONS REGARDING MR.
        MARTIN AND MR. BRUBAKER ARE ADMISSIBLE
        Actavis asks the Court to exclude Dr. Ardehali’s specific causation expert opinion in Plaintiffs

Martin and Brubaker’s cases on the grounds that his testimony is unreliable. This argument should

be rejected because Dr. Ardehali’s opinions are grounded in a reliable and well-accepted methodology,

differential etiology, which he properly performed.

        Differential etiology is an accepted method for establishing specific causation. Myers v. Illinois

Cent. R. Co., 629 F.3d 639, 644 (7th Cir. 2010). In “a differential etiology, the doctor rules in all the

potential causes of a patient’s ailment and then by systematically ruling out causes that would not apply

to the patient, the physician arrives at what is the likely cause of the ailment.” Id. As the Seventh Circuit

has held, there “is nothing controversial about that methodology.” Id. A differential etiology “satisfies

a Daubert analysis if the expert uses reliable methods.” Brown v. Burlington N. Santa Fe Ry. Co., 765 F.3d

765, 772 (7th Cir. 2014). This Court has already held that a properly-conducted differential etiology

“is a reliable methodology for making a specific-causation determination.” See CMO 46 at 42.

        The standard for proper differential etiology under Daubert does not require an expert to rule

out every alternative cause. Schultz v. Akzo Nobel Paints, LLC, 721 F.3d 426, 434 (7th Cir. 2013). The

court “may consider whether they adequately account for obvious alternative explanations.” Id., quoting

Fed. R. Evid. 702 Advisory Committee Note (2000) (internal quotations omitted). See also, e.g.,

Westberry v. Gislaved Gummi AB, 178 F.3d 257, 265 (4th Cir. 1999) (a “medical expert’s causation

conclusion should not be excluded because he or she has failed to rule out every possible alternative

cause of a plaintiff’s illness.”). “[O]nly ‘where a defendant points to a plausible alternative cause and

the doctor offers no explanation for why he or she has concluded that was not the sole cause’” is that

doctor’s methodology unreliable. Heller v. Shaw Indus., Inc., 167 F.3d 146, 156 (3d Cir. 1999). The

expert “must provide a reasonable explanation as to why he or she has concluded that [any alternative

cause suggested by the defense] was not the sole cause of the plaintiff’s injury.” Guinn v. AstraZeneca

Pharms. LP, 602 F.3d 1245, 1253 (11th Cir. 2010) (internal quotations omitted).

        Dr. Hossein Ardehali offers the case-specific opinion in Mr. Martin’s case that:

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         But for the use of the Androderm testosterone product, Mr. Martin would not have
         experienced the MI and myocardial damage. The Androderm therapy was a substantial
         factor in causing this myocardial infarction event because of its effects on coagulation
         under circumstances of a systemic chronic inflammatory disease.
Ex. 4, Ardehali Martin Rpt. at 14. Likewise, Dr. Ardehali reached a similar conclusion in Mr.

Brubaker’s case, opining that “Androderm therapy was a substantial factor in causing this myocardial

infarction event because of its effects on coagulation under circumstances of a systemic chronic

inflammatory disease” and that “[b]ut for the use of the Androderm testosterone product, Mr.

Brubaker would not have experienced the MI and myocardial damage.” Ex. 5, Ardehali Brubaker Rpt.

at 11.
         In reaching the conclusions that Androderm was a “substantial factor” in causing Plaintiffs’

respective injuries, Dr. Ardehali used a standard differential etiology. First, Dr. Ardehali relied on his

own general causation report to “rule in” Androderm as a possible cause of Plaintiffs’ heart attacks.

Actavis’ attack on Dr. Ardehali’s differential etiology in this regard relies entirely on the outcome of

its separate challenge to Dr. Ardehali’s general report. To the extent the Court denies Actavis’ motion

to exclude his general report – as it should for all the reason set forth infra at Section I – Actavis’

argument on this point must be similarly rejected.

         Secondly, Dr. Ardehali considered the risk profile of each Plaintiff, the presentation of their

injury, and the known mechanisms of action of testosterone therapy to determine whether Plaintiffs’

preexisting health conditions were alternative sole causes of their injuries. In each case, Dr. Ardehali

concluded they were not. Rather, these conditions acted in concert with Androderm to cause

Plaintiffs’ injuries – which would not have otherwise occurred. In arguing that Dr. Ardehali’s “ruling

out” process was flawed, Actavis simply regurgitates arguments the Court already rejected in CMO 46.

Namely, that Dr. Ardehali failed to categorically rule out “all potential causes” of Plaintiffs’

cardiovascular injuries. But Dr. Ardehali is not required to entirely rule our “all potential causes” of

Plaintiffs’ injuries. Schultz v. Akzo Nobel Paints, LLC, 721 F.3d 426, 434 (7th Cir. 2013). Rather, he

need only explain why a pertinent risk factor was not the sole cause of the injury. In these cases, he

has done precisely that by identifying the relevant mechanism of action based on the presentation of


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each respective Plaintiffs’ injury and describing the manner in which that mechanism acted upon their

established risk profile to cause the injuries at issue.

        In the case of Mr. Martin, Dr. Ardehali explained that, prior to Mr. Martin’s myocardial

infarction in May 2013, his Framingham Coronary Heart Disease 10-Year Risk Year was only 7.3%

(meaning that he was considered low risk for coronary heart disease over ten years) before considering

the added risk of testosterone therapy. Ex. 4, Ardehali Martin Rpt. at 14. He then explained that the

thrombotic episode Mr. Martin experienced in May 2013 was caused by Androderm’s tendency to

increase atherosclerotic burden in addition to its pro-thrombotic effects thereby amplifying Mr.
Martin’s underlying (and independently minor) risk factors to cause his myocardial infarction and

myocardial damage.

        Moreover, it was apparent from Mr. Martin’s increased troponin levels and T-wave

abnormalities observed on arrival to St. Joseph’s hospital that he was suffering from a clot in his

coronary vessel. However, Mr. Martin was treated and stabilized with aspirin and heparin which

resolved the fresh clot during his transport via life-flight to an out-of-state hospital as demonstrated

by the change in his T-wave abnormalities on presentation to Essential Health. Given the presence

of a fresh clot in conjunction with Mr. Martin’s low risk of coronary heart disease, his minor underlying

risk factors, and the addition of testosterone therapy’s pro-thrombotic and arthleroslerotic effects, Dr.

Ardehali concluded that Androderm caused Mr. Martin’s myocardial infarction.

        In this way, Dr. Ardehali’s proposed testimony is strikingly similar to his own report in the

Mitchell case, which this Court found to be admissible. The Court described Dr. Ardehali’s opinion in

the Mitchell case:
        Though Dr. Ardehali did not rule these risk factors out as potential causes of Mitchell's
        heart attack, he does explain in his report why he believes they did not constitute the
        sole cause of the particular myocardial infarction Mitchell suffered. Dr. Ardehali
        acknowledges that risk factors other than AndroGel were integral in the formation of
        the lesions that were found on Mitchell's artery. But Dr. Ardehali explains why, under
        his theory of the mechanism by which TRT causes cardiovascular injuries, AndroGel
        played a significant role in causing the “acute thrombotic event” that led to Mitchell's
        ultimate injury. According to Dr. Ardehali, it is the pro-thrombotic effects of TRT that


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        can provoke such events in patients like Mitchell who have already developed
        atherosclerosis as a result of longstanding risk factors.
CMO 46 at 49. As was true with AndroGel and Mr. Mitchell, Dr. Ardehali’s report concerning Mr.

Martin explains why and how Androderm played a significant role in causing his heart attack. Rather

than ignoring Mr. Martin’s other risk factors, Dr. Ardehali explained how they worked together with

the pro-thrombotic effects of testosterone and its tendency to increase arthleroscerotic burden to

cause his injury.

        Likewise, in Mr. Brubaker’s case, Dr. Ardehali found that Mr. Brubaker’s Framingham 10-year

risk score was a moderately-low 12.9% without the added risk of testosterone therapy. Yet despite
being only objectively moderate risk even with his pre-existing risk factors, when Mr. Brubaker’s

physicians attempted to perform a cardiac catheterization during his hospitalization for his myocardial

infarction, they discovered that his coronary artery had become so occluded that they were unable to

even guide run-through wires across the mid-LAD. Dr. Ardehali concluded this was because Mr.

Brubaker’s Androderm usage had increased the pre-existing arthlerosclerotic burden on his arteries

thereby creating the complete occlusion of his vessel.

        Importantly, the Framingham risk calculator provides an objective and dynamic evaluation

based on the presence and significance of particular risk factors. That is, the Framingham risk

calculator not only considers the presence of conditions like hyperlipidemia or hypertension in

determining an individual’s future risk, it also considers the severity of the condition and whether is
treated or untreated by medication when evaluating its relative contribution to future risk. Thus,

considering such a risk evaluation assisted Dr. Ardehali in ruling-out for all relevant non-testosterone

therapy related risk factors in his differential etiology in determining whether Androderm was a

substantial contributing factor in Plaintiffs’ MIs.

        Nevertheless, Actavis attacks these evidence-based conclusions, in part, because the hospitals

did not perform additional medically unnecessary testing that could have further informed Dr.

Ardehali’s opinions. Seen for what it is, Actavis’ attack on Dr. Ardehali’s differential etiologies on this

point is not actually an attack on his methodology at all – rather it is an attack on the admissibility of


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a differential etiology that is not based on the present or absence of a signature causal biomarker. This

is apparent by Actavis’ underlying argument that Dr. Ardehali cannot reach a causation opinion

without having a specific test result to point to in order to conclusively verify his opinion. But this

position is clearly contrary to the accepted differential etiology process. That is, if the existence of

absence of a particular biomarker were legally necessary to verify or exclude the presence of a specific

mechanism then there would be no utility in the differential process in the first place. For this reason,

Dr. Ardehali’s opinions regarding the mechanisms of action of testosterone therapy have been

previously admitted given that they are well-founded based on clinical studies and peer reviewed
medical literature. To argue that he is prohibited from considering these mechanisms in the absence

of such signature test results is illogical.

        Actavis’ final attack on Dr. Ardehali’s opinions pertains only to Mr. Brubaker. It argues that

Mr. Brubaker was not taking Androderm at the time of his MI so there is no basis for Dr. Ardehali to

find a causal relationship. This criticism can be easily dispensed with given that it inappropriately

relies, first, on Defendant’s own misunderstanding of Mr. Brubaker’s testimony regarding when he

began and ceased using Androderm and, second, on its attempt to turn a straightforward factual dispute

into a Daubert challenge. To be clear, Mr. Brubaker was using Androderm at the time of his injury. In

February of 2013, Mr. Brubaker went to his family care medical clinic and asked to be prescribed

testosterone replacement therapy. Ex. 13, Brubaker Tr. at 103:3-25. He had seen disease state

awareness commercials about “Low T” which referenced getting older and symptoms like fatigue and

low sex drive. Id. On December 13, 2013, he filled a prescription for Androderm containing sixty

(60) patches. Ex. 14, SuperRx Pharmacy Records, 5BRUBAKER00011. He used the Androderm

patches from December 2013 through March 2014. See Ex. 15, Brubaker Plaintiff’s Fact Sheet,

Amended July 28, 2017 at 15. He refilled his prescription on February 13, 2014. Ex. 14, SuperRx

Pharmacy Records, 5BRUBAKER00012. However, before he finished his prescription, he suffered

a massive heart attack in early March 2014, formally diagnosed on March 4, 2014. See Ex. 14, Records

from Loma Linda University Medical Center, 4BRUBAKER00026. When he arrived at the hospital,


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Mr. Brubaker reported using Androderm; also, while he did not do so, he was in fact told to continue

using Androderm upon discharge. See id. at 4BRUBAKER00097 and 4BRUBAKER00402.

        In other words, numerous contemporaneous documents demonstrate that Plaintiff was, in fact,

taking Androderm at the time of his injury irrespective of whether he had started the second refill of

his prescription. Therefore, given multiple sources of evidence demonstrating contemporaneous

usage, Actavis raises nothing more than a factual dispute here which simply cannot form the basis for

exclusion under Daubert. Smith v. Ford Motor Co., 215 F.3d 713, 718 (7th Cir. 2000) (“The soundness

of the factual underpinnings of the expert's analysis and the correctness of the expert's conclusions
based on that analysis are factual matters to be determined by the trier of fact, or, where appropriate,

on summary judgment.”); see also In re Ready-Mixed Concrete Antitrust Litig., 261 F.R.D. 154, 166 (S.D.

Ind. 2009) (“It is obvious that the nature of the parties' dispute in this regard is essentially factual, and

therefore not susceptible to a Daubert analysis.”) (citing Deputy v. Lehman Bros., 345 F.3d 494, 506 (7th

Cir. 2003)).

        In short, Dr. Ardehali used the same reliable methodology to develop his opinions that the

Court has already accepted and it should do so here once more.

III.    THE OPINIONS OF ROBERT JOHNSON SHOULD NOT BE EXCLUDED
        Mr. Johnson has the necessary qualifications in the field of economics and finance to render

an expert opinion on the financial condition of Actavis plc and, in fact, Actavis does not challenge his

qualifications. His opinions are based upon a valid methodology for his field as he determined Actavis

plc’s financial condition based upon his review of financial data from Securities and Exchange

Commission (“SEC”) filings as well as news releases from the company and market capitalization data

from Yahoo! Finance. His proposed testimony will assist the jury because this type of financial analysis

is beyond the knowledge and skill of a lay juryperson. As Mr. Johnson’s testimony is reliable, relevant,

and not unfairly prejudicial, there is no basis for exclusion. Moreover, because Actavis plc failed to

appear for the properly noticed deposition pursuant to Rule 30(b)(6), Plaintiffs are simultaneously

contemporaneously filing a motion for sanctions against the Actavis Defendants for failing to attend


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a properly noticed Rule 30(b)(6) deposition and for failing to produce requested documents. Plaintiffs

are requesting that the Court deny Actavis’ motion to exclude the expert testimony of Robert Johnson.

For that independent reason, Actavis’ motion to exclude his testimony should be denied. Even if the

Court were not to grant that, however, Actavis Defendants’ Motion to Exclude Mr. Johnson’s

testimony should be denied.
        A.      Mr. Johnson’s Methodology is Reliable and Proper
        Mr. Johnson uses reliable methodology to determine the financial condition of Actavis plc.

He examines reliable data to arrive at a reasoned conclusion. Defendants’ criticisms of Mr. Johnson’s

methodology go to the weight of his testimony, not the admissibility.

        Rule 702 requires that expert testimony be based on “sufficient facts or data” and is “the

product of reliable principles and methods.” FED. R. EVID. 702. “Reliability” is a question of the

validity of the expert’s methodology. Manpower, Inc. v. Ins. Co. of Penn., 732 F.3d 796, 806 (7th Cir.

2013). Judges have “considerable leeway in deciding in a particular case how to go about determining

whether particular expert testimony is reliable.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999).

“Rule 702’s reliability elements require the district judge to determine only that the expert is providing

testimony that is based on a correct application of a reliable methodology and that the expert

considered sufficient data to employ the methodology.” Stollings v. Ryobi Technologies, Inc., 725 F.3d 753,

766 (7th Cir. 2013). “The reliability of data and assumptions used in applying a methodology is tested
by the adversarial process and determined by the jury…” Manpower, Inc., 732 F.3d at 808. “The critical

inquiry is whether there is a connection between the data employed and the opinion offered…” Id. at

806.

        In the present case, Mr. Johnson used a reliable methodology in performing his analysis and

reaching his opinions. Mr. Johnson’s opinion is that Actavis plc is a “strong and stable company.” See

Ex. 6 at 1. Based on his calculation of Actavis plc’s financial condition, he has concluded that it has

the ability to pay a significant punitive damage award. See Ex. 18, Johnson Tr. at 117-118.

        Mr. Johnson reached these opinions by using his education and experience to review and

synthesize AbbVie SEC filings, news releases, and market capitalization data from Yahoo! Finance to

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calculate and determine AbbVie’s net revenues, net revenues per day, net earnings, net worth, cash on

hand, cash flows, capital expenditures, free cash, dividends, stock repurchases, research and

development expenditures, advertising expenditures, available line of credit, stock market value, and

the compensation package for its Chairman and CEO. See Ex. 6, generally; Ex. 18, Johnson Tr. at 57-

58. These measures reveal Actavis plc’s financial condition from an economic health, economic wealth

and economic status perspective. See Ex. 6. It is clear that Mr. Johnson reviewed ample financial data

to reach his conclusion and his analysis is within the competence of someone with his background in

economics and finance. There is a rational connection between the data he reviewed and the opinion
he reached, and, therefore, his methodology is reliable. See Manpower, Inc., 732 F.3d at 809; Tuf Racing

Prods., Inc. v. Am. Suzuki Motor Corp., 223 F.3d 585, at 591 (7th Cir 2000).

        The fact that Mr. Johnson derived his figures from multiple sources does not render his

methodology unreliable. This is nothing more than a criticism of the data set Mr. Johnson chose to

use, and “[w]hether [an expert] selected the best data set to use . . . is a question for the jury, not the

judge.” Manpower, Inc., 732 F.3d at 809. “Assuming a rational connection between the data and the

opinion . . . an expert’s reliance on faulty information is a matter to be explored on cross-examination;

it does not go to admissibility.” Id. Mr. Johnson testified that his valuation methodologies are based

upon his
        [T]raining; experience; knowledge of what I learned in valuations at Stanford; mergers
        and acquisitions at the AMA; and what I’ve practiced in mergers and acquisitions on
        Wall Street and in my corporate life.
Ex. 18, Johnson Tr. at 55.

        Actavis alleges that Mr. Johnson’s methodologies have been deemed unreliable before in Pooshs

v. Phillip Morris USA, Inc., 287 F.R.D. 543 (N.D. Cal. Dec. 5, 2012) and Soto v. BorgWarner Morse TEC

Inc., 239 Cal. App. 4th 165 (2015). In Soto, Mr. Johnson offered evidence about a company’s revenues

but did not offer evidence about the company’s liabilities or expenses. Soto at 195. The issue was that

revenue information alone does not “tell you anything about” profits, losses, debts, or available credit.

Id. In the instant case, however, Mr. Johnson performed precisely the analysis sought by the court in


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Soto. See Ex. 18, Johnson Tr. at 73; 85 (losses); 76, 103-4 (available credit). Soto therefore supports

admission of Mr. Johnson’s opinion regarding Actavis plc here. As to Pooshs, first, this is one case

interpreting one state’s law and making a determination in light of the facts before it. Mr. Johnson has

been designated for cases outside of California. Second, Plaintiffs respectfully contend that the court

reached the wrong result in Pooshs. The court took issue with Mr. Johnson’s consideration of the

company’s “‘financial condition’ (based on a wide variety of financial statistics)” because California’s

default rule is to measure only the defendant’s net worth (Pooshs at 549-550, citing Neal v. Farmers Ins.

Exchange, 582 P.2d 980 (1978)) and Mr. Johnson’s calculations instead included historical data and
California only measures defendants’ wealth at the time of trial. Id. at 550. However, by the court’s

own admission, California law allows for consideration of financial factors beyond net worth in

determining a punitive damages award. As Mr. Johnson has explained in this case, “net worth” can

be an extremely misleading figure because a company can have a negative net worth and still be able

to pay a punitive damages award. See Ex. 18, Johnson Tr. at 18-19. Plaintiffs contend that the Court

should have allowed Mr. Johnson to testify as to the financial condition of the defendant in Pooshs,

and, had it done so, it would have been proper to allow him to consider financial statistics beyond net

worth.

         Actavis argues that Mr. Johnson inappropriately rounded off numbers in his calculations.

However, Mr. Johnson rounded off numbers to one decimal place and explained that he does so “[t]o

make it easier to understand.” See Ex. 18, Johnson Tr. at 52-54; Fed. R. Evid. 702 (“help the trier of

fact to understand the evidence”); See In re Yasmin and YAZ (Drospirenone) Marketing, Sales Practices and

Prods. Liab. Litig., 2011 WL 6732819 at * 7, No. 3:09-md-02100 (S.D. Ill., Dec. 16, 2011) (Herndon, J.)

(holding an economic expert may be particularly helpful to a jury in looking at financial information

pertinent to a punitive damages assessment). The figures that Mr. Johnson rounded off are, for

example, that Actavis PLC’s net worth in 2017 was $71.2 Billion and $76.2 Billion in 2016. See Ex. 6,

Johnson Suppl. Rpt. at 7. Rounding these decimals allows the jury to more easily digest the numbers

at issue, which Rule 702 specifically calls for – expert testimony that will help the trier of fact to


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understand the evidence. Actavis has failed to identify any legal authority that provides that rounding

numbers to one decimal is an unreliable methodology.
        B.       Mr. Johnson’s Testimony is Relevant and Will Assist the Trier of Fact
        Pursuant to Rule 702, expert testimony is relevant if it will “help the trier of fact to understand

the evidence or to determine a fact in issue . . .” Fed. R. Evid. 702. Expert testimony is relevant if it

will assist the trier of fact with its resolution of any of the issues in this case. Smith, 215 F.3d at 718.

“The expert need not have an opinion on the ultimate question to be resolved by the trier of fact in

order to satisfy this requirement.” Id. An economic expert may be particularly helpful to a jury in

looking at financial information pertinent to a punitive damages assessment. See In re Yasmin and

YAZ (Drospirenone) Marketing, Sales Practices and Prods. Liab. Litig., 2011 WL 6732819 at * 7, No. 3:09-

md-02100 (S.D. Ill., Dec. 16, 2011) (Herndon, J.).

        Actavis argues that Mr. Johnson’s testimony is irrelevant because Actavis plc is not a named

defendant in either of Plaintiffs’ cases. Actavis plc is the publicly-traded parent company (whether

directly or indirectly) to all the Actavis entities within this litigation. According to its filings, no entity

other than Actavis plc own a substantial share of the various Actavis Defendants. Therefore, Actavis

plc is the sole beneficiary of the profits derived from the sale of Androderm. Presumably, the company

insures its sub-entities as well. Moreover, Actavis plc was once a defendant with the MDL and the

parties consented to its dismissal without prejudice only after entering Case Management Order 22A,
which included a stipulated agreement that the remaining Actavis Defendants “agree they will not

claim that either Actavis plc or Watson Laboratories Inc., a Nevada corporation, is an indispensable

party to any product liability claims filed in these proceedings as such claims pertain to Androderm.”

        Mr. Johnson’s proposed expert testimony is relevant because it will assist the jury in

understanding and synthesizing financial evidence            drawn     from     voluminous documents and

determining issues pertinent to punitive damages. The ability to identify, summarize, and interpret the

significance of pertinent financial information for a large corporation such as Actavis plc, even if

publicly available, is beyond the skill-set of a typical juror. As the Court explained in rejecting a Motion

to Exclude Mr. Johnson in In re Yasmin and YAZ on similar grounds:

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          Clearly, it is generally more helpful to the trier of fact and efficient for the Court to
          present voluminous information in the form of a summary. However, the jury requires
          someone in possession of the necessary knowledge and expertise to explain the
          relevant summaries and charts.
          Although concededly comprehensible, the Court finds Johnson’s report assists the
          trier of fact in its analysis of issues relevant to the dispute. . .[T]o allow the jury to
          assess Bayer’s wealth with any level of accuracy, an expert is required to determine
          Bayer’s total wealth and explain his findings in a manner helpful to the trier of fact.
Id.

          Mr. Johnson’s opinion is that Actavis plc is a strong and stable company from an economic

health and economic wealth perspective that is able to meet its obligations and, based on its financial
condition, it has the ability to pay a punitive damage award. See Ex. 6, Johnson Suppl. Rpt. at 1. Mr.

Johnson’s testimony will help the jury understand the financial evidence before it, rendering his

testimony relevant. See In re Yasmin and YAZ (Drospirenone) Marketing, Sales Practices and Prods. Liab. Litig.,

2011 WL 6732819 at * 7.
          C.      Mr. Johnson’s Opinions Should Not be Excluded Under Rule 403
          There is no basis for excluding Mr. Johnson’s testimony pursuant to Rule 403 of the Federal

Rules of Evidence. Rule 403 provides that the Court may exclude relevant evidence if “its probative

value is substantially outweighed by a danger of one or more of the following: unfair prejudice,

confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting

cumulative evidence.” FED. R. EVID 403. Mr. Johnson’s testimony is relevant for the reasons set

forth above, and it does not implicate substantial concerns of unfair prejudice, jury confusion, or

needlessly wasting the Court’s time. Actavis argues that testimony regarding its parent company’s

wealth is only intended to “have the jury base a damage award on an improper, emotional basis.”

Defs.’ Br. at 45. Actavis’ sole citation to legal authority is Common v. City of Chicago, 661 F.3d 940 (7th

Cir. 2011), a criminal case involving the admission of drug evidence at trial. Actavis has failed to

identify any relevant legal authority to support its bare allegation that its parent company’s economic

condition is unfairly prejudicial, confusing, or a waste of the Court’s time.

          As Justice Breyer explained in his concurrence in Gore, “[wealth] provides an open-ended basis

for inflating awards when the defendant is wealthy … That does not make its use unlawful or inappropriate;

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it simply means that this factor cannot make up for the failure of other factors, such as

‘reprehensibility,’ to constrain significantly an award that purports to punish a defendant’s conduct.”

BMW of N. Amer., Inc. v. Gore, 517 U.S. 559, at 591 (1996) (Breyer, J. concurring) (emphasis added); see

also, Cortez v. Trans Union, LLC, 617 F.3d 688, 718 n. 37 (3d Cir. 2010) (“A jury can consider the relative

wealth of a defendant in deciding what amount is sufficient to inflict the total punishment.”); White v.

Ford Motor Co., 500 F.3d 963, 977 (9th Cir. 2007); (“Determining what amount of punitive damages

will ‘sting’ the defendant requires consideration of its total wealth, not merely wealth derived from

wrongdoing.”) (emphasis in original); Kemp v. Am. Tel. & Tel. Co., 393 F.3d 1354, 1365 & n. 9 (11th
Cir. 2004) (“wealth and size of the defendant” could be considered in determining size of punitive

damage award, even though, under State Farm, the wealth of a defendant cannot justify an otherwise

unconstitutional punitive damages award). Evidence of Actavis plc’s overall and total financial

condition does not implicate extra- jurisdictional and unrelated conduct. It is relevant to aid in the

calibration of the effect of any punitive damage award and therefore admissible.
                                            CONCLUSION
         For the foregoing reasons, Defendants’ motion to exclude expert testimony should be denied

in its entirety.


Dated: June 8, 2018                              Respectfully submitted,


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                                   CERTIFICATE OF SERVICE
        I hereby certify that on June 8, 2018, I electronically transmitted the foregoing document to

the Clerk of the United States District Court using the CM/ECF system for filing and service to all

parties/counsel registered to received copies in this case.

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